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   )URP            5REHUW'Z\HU
   7R              6DKQL1HHPD7/HH:RORVN\$P\1HXKDUGW2EHUPHLHU6WHSKHQ*DUGQHU0DWWKHZ
                    WHPLWRSH\XVXI#DUHQWIR[FRPFUDLJHQJOH#DUHQWIR[FRPDOODQDQGHUVRQ#DUHQWIR[FRP
   &F              .DPLQ0LWFKHOO$9DQ7DVVHOO5HEHFFD*&KHQ0DUN<
   6XEMHFW         5(%URLG\Y4DWDU/HWWHU%ULHIDQG([3DUWH
   'DWH            )ULGD\-XQH30


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   )LUVWWRDPSOLI\\RXUFKDUDFWHUL]DWLRQRIRXUGLVFXVVLRQVZLWK0U$OODKDP¶VFRXQVHO
   FRQFHUQLQJKLVFRPSOLDQFHZLWK-XGJH)RUUHVW¶V2UGHURI-XQHZHDJUHHGZLWKKLVFRXQVHO
   WKLVPRUQLQJWRUHDVRQDEOHDFFRPPRGDWLRQVLQOLJKWRIWKHIDFWWKDWKLVZLIHPD\KDYHJRQH
   LQWRODERUDQGLVFXUUHQWO\LQWKHKRVSLWDOLQ1<&ZKLFKSUHYHQWHGKLPWRGD\IURP
   SDUWLFLSDWLQJLQWKHUHYLHZDQGSURGXFWLRQRIWKHVXESRHQDHGGRFXPHQWV,IDQGWRWKHH[WHQW
   KLVDYDLODELOLW\FKDQJHVZHH[SHFWKLPWRFRPSO\ZLWK-XGJH)RUUHVW¶V2UGHURI-XQHDV
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       D7KHGHDGOLQHIRU0U$OODKDPWRIXOO\FRPSO\ZLWKWKDW2UGHULVH[WHQGHGIURP
               SPRQ6DWXUGD\-XQHWRQRODWHUWKDQSPRQ)ULGD\-XQH
       E&RXQVHOIRU3ODLQWLIIVDQGFRXQVHOIRU0U$OODKDPZLOOFRQIHUDERXWHDUOLHUGHDGOLQHV
               IRUWKHSURGXFWLRQRIGRFXPHQWVEDVHGRQKLVFRXQVHO¶VDELOLW\WRSURGXFHGRFXPHQWV
               EDVHGRQWKH(6,WKDWKLVFRXQVHOKDVDORQJZLWKFRQVLGHUDWLRQVUHODWHGWRWKHH[SHFWHG
               GXUDWLRQRI0UV$OODKDP¶VKRVSLWDOVWD\
   :HDOVRUHTXHVWHGWKDW0U$OODKDP¶VFRXQVHOPDNHKLVSURGXFWLRQRQDUROOLQJEDVLV
   HVSHFLDOO\VLQFHWKH\DOUHDG\KDYHWKHUHOHYDQW(6,DQGZHH[SHFWWKDWWKH\ZLOOGRVR
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   6HFRQGZHUHMHFWFDWHJRULFDOO\\RXUSRVLWLRQWKDW\RXUFOLHQWWKH6WDWHRI4DWDUVKRXOGKDYH
   DQRSSRUWXQLW\WRUHYLHZ0U$OODKDP¶VGRFXPHQWVLQDGYDQFHRIWKHLUSURGXFWLRQWR3ODLQWLIIV
   RUWRVHHNDGHOD\LQWKHSURGXFWLRQRIWKRVHGRFXPHQWVWKDWZDVRUGHUHGE\-XGJH)RUUHVW
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       D:KHQ,DVNHG\RXUSDUWQHU0LWFKHOO.DPLQ\HVWHUGD\DERXWWKHVXEMHFWKHVWDWHGWKDW
               KHGLGQRWNQRZLI0U$OODKDPZDVFRYHUHGE\DQ\FRQILGHQWLDOLW\DJUHHPHQWEHWZHHQ
               WKH6WDWHRI4DWDUDQG0U0X]LQDQG6WRQLQJWRQ6HHDOVRGEHORZ
       E8QWLO\HVWHUGD\WKH6WDWHRI4DWDUQHYHUDVVHUWHGWKDW0U$OODKDPZDVLWVDJHQWRU
               WKDWLWKDGDQ\ULJKWWRSUHYHQWRUPRQLWRUKLVSURGXFWLRQRIGRFXPHQWVRULQIRUPDWLRQ
               SXUVXDQWWRODZIXOSURFHVV,QGHHGWKH6WDWHRI4DWDUDJUHHGWRH[SOLFLWO\FDUYHKLP
               RXWRIDQ\GLVFRYHU\VWD\WKDWHQGHGRQ-XQHIXOO\DQWLFLSDWLQJKHZRXOGPDNH
               GRFXPHQWSURGXFWLRQVEHIRUHWKDWGDWH
       F$V-XGJH)RUUHVWUXOHGDWWKH-XQHKHDULQJDWZKLFK\RXUILUPZDVSUHVHQWDQG
               DUJXHGIRUWKH6WDWHRI4DWDUZLWKRXWUDLVLQJDQ\9LHQQD&RQYHQWLRQRUFRQILGHQWLDOLW\
               SRLQWV³$OOGHIHQVHVKDYHEHHQZDLYHG´
       G,QKLVZULWWHQVWDWHPHQW\HVWHUGD\WR7KH5DFKHO0DGGRZ6KRZRQ061%&0U
               $OODKDPVWDWHGWKDWKHKDG³QRZULWWHQFRQWUDFW´ZLWKWKH6WDWHRI4DWDU0U$OODKDP
               DOVRVWDWHG³,GRQ¶WNQRZLI,HYHUZDVDVRFDOOHGOHJDODJHQWRI4DWDUEXW,GRNQRZ
               WKDWDVRI)ULGD\,DPQRWKLQJZLWKWKHP«,ZDQWWKHSXEOLFUHFRUGWREHFOHDUWKDW,
               DPQRORQJHUDIILOLDWHGZLWKWKHP´
       H0U$OODKDPKDVQHYHUUHJLVWHUHGXQGHU)$5$DVDQDJHQWRUVXEDJHQWRIWKH6WDWHRI
               4DWDU
       (f)$OWKRXJKWKH6WDWHRI4DWDUDSSHDUVWRDVVHUWWKDW1LFRODV0X]LQDQGRU6WRQLQJWRQ
               6WUDWHJLHVUHWDLQHG0U$OODKDPDVDVXEDJHQWQRVXFKUHODWLRQVKLSZDVGLVFORVHGLQ
Case 2:18-mc-00095-ODW-PLA Document 2-5 Filed 06/08/18 Page 3 of 5 Page ID #:28


              WKH)$5$ILOLQJVRI0U0X]LQRU6WRQLQJWRQDQG0U0X]LQWZHHWHGRQWKHPRUQLQJ
              RI-XQHWKDW³6WRQLQJWRQ6WUDWHJLHVLVQRORQJHUUHSUHVHQWLQJWKH6WDWHRI4DWDU´
       J0U$OODKDPDOVRLVVXHGDVWDWHPHQWWR3ROLWLFR\HVWHUGD\WKDWPDNHVLWFOHDUWKDWKLV
              LQWHUHVWVDQGWKHLQWHUHVWVRIWKH6WDWHRI4DWDUDUHGLYHUJHQW³4DWDUHQMR\VSRUWUD\LQJ
              WKHPVHOYHVDVWKHSXUYH\RURISHDFHLQWKHUHJLRQEXWWKLVFRXOGQRWEHIXUWKHUIURP
              WKHWUXWK´
       K$EVHQWDQ\EDVLVIRUDVVHUWLQJSULYLOHJHWKH6WDWHRI4DWDUODFNVDQ\ULJKWWRFRQGXFWD
              SUHSURGXFWLRQUHYLHZRI0U$OODKDP¶VUHVSRQVLYHGRFXPHQWVRUWRVHHNWRKDYHKLP
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              LQ\RXUHPDLOLVPDQLIHVWO\DQRWKHULPSURSHUDWWHPSWDWGHOD\LQJOHJLWLPDWHGLVFRYHU\
              E\3ODLQWLIIVZKLFKLQWKLVFDVHKDVEHHQRUGHUHGE\WKHFRXUW
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   )LQDOO\ZHZLVKWREHQRWLILHGLQDGYDQFHDQGEHDIIRUGHGWKHRSSRUWXQLW\WREHKHDUGZLWK
   UHVSHFWWRDQ\DSSOLFDWLRQPDGHE\FRXQVHOIRUWKH6WDWHRI4DWDUWRDQ\FRXUWZLWKUHVSHFWWR
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       D7KH&HQWUDO'LVWULFWRI&DOLIRUQLDODFNVMXULVGLFWLRQRYHUFRPSOLDQFHZLWKD5XOH
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       E$OOTXHVWLRQVUHJDUGLQJGRFXPHQWSURGXFWLRQE\0U$OODKDPSXUVXDQWWR3ODLQWLIIV¶
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             RQD)ULGD\HYHQLQJWKHUHE\UHTXLULQJDUHVSRQVHIURP3ODLQWLIIVRQ6DWXUGD\LV
             LQH[FXVDEOHIRUWKUHHUHDVRQV
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                         UHVHUYHGIRUH[WUDRUGLQDU\VLWXDWLRQVDQGWKHPHULWOHVVFODLPRIWKH6WDWHRI
                         4DWDULQDFRXUWWKDWODFNVMXULVGLFWLRQKDUGO\TXDOLILHV
                 E7KHVXESRHQDWR0U$OODKDPKDVEHHQRXWVWDQGLQJIRUPDQ\ZHHNVZLWKRXW
                         \RXUVHHNLQJDQ\VXFKUHOLHI
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                         QHHGWRDGGUHVVDQGEULHIWKHVHPDWWHUVRYHUDZHHNHQGZKHQWKHUHZHUHDPSOH
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Case 2:18-mc-00095-ODW-PLA Document 2-5 Filed 06/08/18 Page 4 of 5 Page ID #:29


   WHPLWRSH\XVXI#DUHQWIR[FRPFUDLJHQJOH#DUHQWIR[FRPDOODQDQGHUVRQ#DUHQWIR[FRP
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   SURGXFHGRFXPHQWVUHVSRQVLYHWRWKHVXESRHQDVHUYHGE\3ODLQWLIIVWKURXJK-XQHLQRUGHUWRHQVXUH
   WKDWQRPDWHULDOVDUHSURGXFHGLQYLRODWLRQRIWKH9LHQQD&RQYHQWLRQVRUDQ\FRQILGHQWLDOLW\DJUHHPHQW
   :HOHDUQHGWKLVPRUQLQJWKDW0U$OODKDPDQG3ODLQWLIIVKDYHQRZDJUHHGWRH[WHQGWKHGHDGOLQHWKURXJK
   -XQHVXEMHFWWRSRWHQWLDOO\FRQIHUULQJDERXWHDUOLHUGHDGOLQHVIRUDSRUWLRQRIWKHSURGXFWLRQ
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   DJUHHGXSRQSURGXFWLRQWLPHIUDPHSULRUWRWKHLUSURGXFWLRQVRWKDWLWPD\LGHQWLI\GRFXPHQWVWKDWDUH
   LQYLRODEOHDQGSURWHFWHGIURPGLVFORVXUHSXUVXDQWWRWKHSURWHFWLRQVDIIRUGHGWR4DWDUXQGHUWKH
   9LHQQD&RQYHQWLRQVDQGRUVXEMHFWWRFRQILGHQWLDOLW\DJUHHPHQWVDQGWKXVPXVWEHSURGXFHGVXEMHFW
   WRDQDSSURSULDWHFRQILGHQWLDOLW\GHVLJQDWLRQ:HIXUWKHUUHTXHVW\RXUDJUHHPHQWWKDW4DWDUPD\GLUHFW
   WKDWPDWHULDOVWKDWDUHLQYLRODEOHXQGHUWKH9LHQQD&RQYHQWLRQVEHZLWKKHOGIURPSURGXFWLRQWR3ODLQWLIIV
   SURYLGHGWKDWWKH\DUHLGHQWLILHGRQDSULYLOHJHORJDQGWKDWDOOSDUWLHVUHWDLQWKHULJKWWRFKDOOHQJHDQ\
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   3OHDVHOHWXVNQRZ\RXUSRVLWLRQRQWKLVSURSRVDODVVRRQDVSRVVLEOHE\FRQILUPLQJLLQWKHFDVHRI0U
   $OODKDPWKDW\RXZLOOJLYH4DWDUWKHRSSRUWXQLW\WRFRQGXFWVXFKDUHYLHZDQGZLWKKROGGRFXPHQWVDV
   GLUHFWHGDQGLLLQWKHFDVHRI3ODLQWLIIVWKDW\RXKDYHQRREMHFWLRQWRWKLVDUUDQJHPHQW
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   *LYHQWKHXUJHQF\RIWKLVLVVXHZHLQWHQGWRVHHNLPPHGLDWHUHOLHIIURPWKHFRXUWVDVQRWLFHGEHORZLQ
   WKHHYHQWWKDWZHFDQQRWUHDFKDQDJUHHPHQWDVWRWKHDERYH$VVXFKSOHDVHOHWXVNQRZ\RXUSRVLWLRQ
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   From: Van Tassell, Rebecca G
   Sent: Thursday, June 07, 2018 8:59 AM
   To: lwolosky@BSFLLP.com; Amy Neuhardt <aneuhardt@bsfllp.com>; Robert Dwyer
   <rdwyer@BSFLLP.com>; Obermeier, Stephen <SObermeier@wileyrein.com>; Gardner, Matthew
   <MGardner@wileyrein.com>; temitope.yusuf@arentfox.com; craig.engle@arentfox.com;
   allan.anderson@arentfox.com
   Cc: Kamin, Mitchell A <MKamin@cov.com>; Sahni, Neema T <nsahni@cov.com>
   Subject: Broidy v. Qatar - Letter Brief and Ex Parte

   &RXQVHO
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Case 2:18-mc-00095-ODW-PLA Document 2-5 Filed 06/08/18 Page 5 of 5 Page ID #:30


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   EULHIZLWK-XGJH)RUUHVWLQWKH6RXWKHUQ'LVWULFWRI1HZ<RUNUHTXHVWLQJWKDWWKH&RXUWH[WHQGWKH
   GHDGOLQHIRU0U$OODKDPWRSURGXFHGRFXPHQWVUHVSRQVLYHWRWKHVXESRHQDVHUYHGE\3ODLQWLIIVWKURXJK
   -XQHLQRUGHUWRDOORZ4DWDUWKHRSSRUWXQLW\WRLGHQWLI\DQ\GRFXPHQWVLQ0U$OODKDP
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   WKDWPD\EHLQYLRODEOHDQGSURWHFWHGIURPGLVFORVXUHSXUVXDQWWRWKHSURWHFWLRQVDIIRUGHGWR4DWDU
   XQGHUWKH9LHQQD&RQYHQWLRQVRUPD\EHVXEMHFWWRFRQILGHQWLDOLW\DJUHHPHQWVUHTXLULQJWKH\EH
   SURGXFHGVXEMHFWWRDQDSSURSULDWHFRQILGHQWLDOLW\GHVLJQDWLRQ,QWKHDOWHUQDWLYHLIRXUUHTXHVWIRUDQ
   H[WHQVLRQRIWKHGHDGOLQHLVGHQLHGZHZLOOEHPRYLQJIRUDSURWHFWLYHRUGHUUHTXLULQJWKDWDQ\DQGDOO
   GLVFRYHU\UHODWHGWR0U$OODKDPRQWKH&RXUWRUGHUHGGDWHEHSURGXFHGVXEMHFWWRD+LJKO\&RQILGHQWLDO
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   'LVWULFWRI&DOLIRUQLD3OHDVHOHWXVNQRZZKHWKHU\RXLQWHQGWRRSSRVHWKLVDSSOLFDWLRQVRWKDWZHPD\
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   WUDQVPLWWHGWR\RXDQGGHOHWHWKLVHPDLOIURP\RXUV\VWHP7KDQN\RXIRU\RXUFRRSHUDWLRQ

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   7KHLQIRUPDWLRQFRQWDLQHGLQWKLVHOHFWURQLFPHVVDJHLVFRQILGHQWLDOLQIRUPDWLRQLQWHQGHGRQO\IRUWKHXVHRIWKHQDPHGUHFLSLHQWVDQG
   PD\FRQWDLQLQIRUPDWLRQWKDWDPRQJRWKHUSURWHFWLRQVLVWKHVXEMHFWRIDWWRUQH\FOLHQWSULYLOHJHDWWRUQH\ZRUNSURGXFWRUH[HPSWIURP
   GLVFORVXUHXQGHUDSSOLFDEOHODZ,IWKHUHDGHURIWKLVHOHFWURQLFPHVVDJHLVQRWWKHQDPHGUHFLSLHQWRUWKHHPSOR\HHRUDJHQWUHVSRQVLEOH
   WRGHOLYHULWWRWKHQDPHGUHFLSLHQW\RXDUHKHUHE\QRWLILHGWKDWDQ\GLVVHPLQDWLRQGLVWULEXWLRQFRS\LQJRURWKHUXVHRIWKLV
   FRPPXQLFDWLRQLVVWULFWO\SURKLELWHGDQGQRSULYLOHJHLVZDLYHG,I\RXKDYHUHFHLYHGWKLVFRPPXQLFDWLRQLQHUURUSOHDVHLPPHGLDWHO\
   QRWLI\WKHVHQGHUE\UHSO\LQJWRWKLVHOHFWURQLFPHVVDJHDQGWKHQGHOHWLQJWKLVHOHFWURQLFPHVVDJHIURP\RXUFRPSXWHU>Y@
